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                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                                           CR. NO.         12-453-1.1 FSH)


                VS.                                                ORDER FOR INTERIM PAYMENT FOR
                                                                   REPRESENTATION OF COUNSEL
                                                                   P URSUANT TO THE CRIMINAL
 KAE-WON 1.1HO                                                     JUSTICE ACT 18:3006(A)




    Because of the complexity of the case, the expected lel1brth of pretrial preparation, the length


of the trial, and the anticipated hardship of counsel in undertaking representation full-time for


such a period without compensation, in accordance with section 230.73.10 of the ..;;;;..;;;;:.:..=:.::.=.;;.::;...;.;;;..;.


the Administration of the Criminal Justice Act, the following procedures for interim payments




   Counsel shall submit to the Court Clerk, once each month, an interim CJA Form 20


"Appointment of and Authority to Pay Court Appointed Counsel". Compensation earned and


reimbursable expenses incurred from the first to the last day of each month shall be claimed on


an interim voucher submitted no later than the fifth day of the following month, or in the first


business day thereafter. The first interim voucher submitted shall reflect all compensation


claimed and reimbursable expenses incurred from the date of appointment to                         Au u-:::,+ '3 \)

<9018         and shall be submitted no later than          5ey\em\)e( \!J, 5)016                     :   thereafter, the


vouchers shall be submitted once ea h m011th accoi-ding to the schedule outlined above. Each
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All interim vouchers shall be supported by detailed and itemized time and expense statements.


Chapter 2, Part C of the Guidelines for the Administration of the Criminal Justice Act outlines


the procedures and rules for claims by CJA attorneys and should be followed regarding each


voucher.


    The Court will review the interim vouchers when submitted, particularly with regard to the


amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of the


approved number of hours. The COUlt will also authorize payment for all reimbursable expenses


reasonably incurred.


    At the conclusion of representation, counsel should submit a final voucher seeking payment of


the one-fifth (20%) balance withheld from the earlier interim vouchers. The final voucher shall


be labeled as such in Box 22 and shall set fOlth in detail the time and expenses claimed for the


,entire case, including all appropriate documentation. After reviewing the final voucher, the


'ICourt will submit it to the Chief Judge o f the Circuit or his or her designee for review and


approval.


                                2. REIMBURSABLE EXPENSES


    Counsel may be reimbursed for out-of-pocket expenses reasonably incurred incident to


representation. While the statute and applicable rules and regulations do not piace a monetary


 limit on the amount of expenses that can be incurrcd, counsel should incur no single expense


item in excess of $800 without PRIOR approval of the Court. Such approval may be sought by


submitting the CJA 21 to the Clerk with supporting documentation attached if deemed necessary,


stating the nature of the expense, the estimated dollar cost and the reason the expense is


necessary to the representation. An application seeking such approval may be filed in camera, if



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 necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur


 it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate


 more than $800 on one or more interim vouchers are not considered single expenses requiring


 Court approvaL


     With respect to travel outside of the city-county-state for the purpose of consulting with the


 client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be applied


 in the following manner. Travel expenses, such as, mileage, parking fees, meals and lodging, can


 be claimed as itemized expenses. Therefore, if the reimbursement for expenses relating to a


 single trip will aggregate an amount in excess of $800, the travel should receive PRIOR


 authorization of the Court.   The following additional guidelines may be helpful:


     (a) Case related travel by privately owned automobile should be claimed per mile at the


 applicable rate (check with the Clerk's office for current rates), plus parking tees, ferry fees, and
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 bridge, road and tunnel tolls. Transportation other than by privately owned automobile should be


 claimed on an actual expense basis. If travel is authorized, arrangements can be made at


 Govemment rates throu&h National Travel Service. Please contact the C.J.A. administrator in


 the Clerk's office for additional guidance. Air travel in "first class" is prohibited.


     (b) Actual expenses incurred tor meals and lodging while traveling during the course of


 representation must conform to the prevailing limitations placed upon travel and subsistence


 expenses of federal judiciary employees in accordance with existing government travel


 regulations. For specific details concerning high-cost areas, counsel should consult the Clerk.


     (c) Telephone toll calls, telegrams, photocopying and photographs can all be reimbursable


 expenses if reasonably incurred. However, general office overhead, such as rent,



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        secretarial help and telephone service, is not a reimbursable expense, nor are items of a personal


        nature. In addition, expenses for services of subpoenas on fact witnesses are not reimbursable,


        but rather.are governed by Rule 17 F.R.Crim.P. and 28 U.S.c. 182"5.




                                  3. FURTHER QUESTIONS OR GUIDANCE


           Answers to questions concerning services under the Criminal Justice Act, can generally be


        found in (l) 18 U.S.c. 3006(A); (2) the Plan of the United States District Court for the District of


        New Jersey; (3) Appendix I to the Criminal Justice Act Plan; and (4) Guidelines for the


        Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.


        Courts. Should these references fail to provide the desired clarification or direction, counsel is


        directed to contact the Clerk's office, specitically, Anna Irwin, CJA Administrator at


        (609) 989-2398 in Trenton.




                                                   APPROVED


        DATE:   _tf  - __
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                                                       THOMAS I. V ANASKrE, JUDGE
                                                       UNITED STATES COURT OF APPEALS
                                                       FOR THE THIRD CIRCUIT



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